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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 IN RE SUBPOENA ISSUED IN:                        Misc No. 1:21-mc-00194

 MWK Recruiting, Inc. v. Jowers, et al.
 pending in the U.S. District Court for the
 Western District of Texas,                       CORPORATE DISCLOSURE
 Case No. 1:18-cv-00444-RP                        STATEMENT

 BREAKING MEDIA, INC.
 dba ABOVE THE LAW,

                                   Petitioner,

                  -against-

 EVAN P. JOWERS,

                                 Respondent.


       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Breaking Media, Inc. d/b/a

Above the Law (“the Company”), by its undersigned counsel, certifies that (i) it is a private non-

governmental entity that is not owned by a parent corporation and (ii) no publicly held

corporation owns 10 percent or more of the Company.

Dated: New York, New York                     MILLER KORZENIK SOMMERS RAYMAN LLP
       February 18, 2021
                                              By: /s/ David S. Korzenik
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